Case: 1:19-cv-06857 Document #: 22 Filed: 04/21/20 Page 1 of 2 PagelD #:54

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Freddie Taylor, )
)
Plaintiff, )
) 19 C 6857
v. ) Judge Sharon Johnson Coleman
) Magistrate Judge Valdez
Northeastern Illinois University, )
)
Defendant. )

JURY DEMAND

Defendant NORTHEASTERN ILLINOIS UNIVERSITY hereby demands trial by jury.

Respectfully submitted,
NORTHEASTERN ILLINOIS UNIVERSITY

By: __ /s/ Alexander L. Reich
One of its attorneys

David Waxman (david.waxman@saul.com)

E. Jason Tremblay (jason.tremblay@saul.com)
Alexander L. Reich (alexander.reich@saul.com)
Saul Ewing Arnstein & Lehr LLP

161 N. Clark St, Suite 4200

Chicago, Illinois 60601

(312) 876-7100

36871256.1
Case: 1:19-cv-06857 Document #: 22 Filed: 04/21/20 Page 2 of 2 PagelD #:55

CERTIFICATE OF SERVICE
I hereby certify that on April 21, 2020, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, and thereby caused it to be served on all

counsel of record registered to receive such service.

/s/ Alexander L. Reich

36871256.1

2
